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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Roanoke Division


   PIO MENDOZA and AMADO MENDEZ,
   on behalf of themselves
   and all others similarly situated, et al.

                                         Plaintiffs,
   v.

   BAIRD DRYWALL & ACOUSTIC, INC., et al.,
                                                                  CASE NOS. 7:19-CV-882 and
                                                                  7:21-CV-00365
                                         Defendants.

   and

   JOSEPH BRITT, individually

                                         Plaintiff,

   v.

   BAIRD DRYWALL & ACOUSTIC, INC.,

                                         Defendant.

                        JOINT MOTION TO APPROVE SETTLEMENT


         Pio Mendoza and Amado Mendez, on behalf of themselves and all others similarly

  situated, and Joseph Britt on behalf of himself (“Plaintiffs”) and Baird Drywall & Acoustic, Inc.

  (“Baird”), Ramiro Torres Martinez, d/b/a Torres Drywall (“Torres”), and Guillermo Guardado

  Fiallos, d/b/a GGF Drywall, LLC (“GGF”) (collectively, “Defendants”) (“Defendant”), by their

  respective counsel, respectfully move the Court to enter an Order approving the settlement of

  this FLSA action. A copy of the proposed settlement is attached as Exhibit 1 and a copy of a

  proposed Joint Consent Order is attached as Exhibit 2. For the Court’s consideration, the parties

  are submitting a joint memorandum in support of this Motion.


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         For the reasons set out in the memorandum, the parties believe the settlement is fair and

  reasonable. Wherefore, the parties request that the Court approve the settlement and enter the

  Proposed Consent Order provided as an attachment to this Joint Motion to Approve Settlement.



  Respectfully submitted,



   PIO MENDOZA, ET AL., and                      BAIRD DRYWALL AND ACOUSTIC,
   JOSEPH BRITT                                  INC.


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   /s/Aaron B. Houchens                          /s/Catherine J. Huff
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                                  CERTIFICATE OF SERVICE


          I hereby certify that on September 8, 2021, I electronically filed the foregoing with the
  Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to
  all counsel of record:



  /s/Timothy Coffield
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